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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 17-21138-CIV-ALTONAGA

  JOSE A. FERNANDEZ,

         Plaintiff,
  v.

  DIRECTV, LLC, et al.,

         Defendants.
                               /

                                              ORDER

         THIS CAUSE came before the Court upon the parties’ Joint Stipulation of Dismissal

  with Prejudice (“Stipulation”) [ECF No. 34]. The parties request the Court retain jurisdiction for

  the purpose of enforcing their settlement agreement, but they do not provide a copy of the

  agreement. (See id. 1). The Court will not retain jurisdiction over a settlement agreement it has

  not seen or approved. Accordingly, it is

         ORDERED AND ADJUDGED that the parties may re-file their stipulation by July 25,

  2017, either including with it a copy of their settlement agreement, or removing their request the

  Court retain jurisdiction.

         DONE AND ORDERED in Miami, Florida, this 21st day of July, 2017.



                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
